                    Case 2:23-cv-00858 Document 1 Filed 06/07/23 Page 1 of 35




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 5                           IN THE UNITED STATES DISTRICT COURT
                           FOR THE WESTERN DISTRICT OF WASHINGTON
 6

 7       HUGO PROPERTIES, LLC,
                                                            Case No.
 8                                   Plaintiff,
                                                            COMPLAINT
 9             v.
                                                            JURY DEMAND
10
         CITY OF SEATTLE,
11                                   Defendant.

12

13            Plaintiff hereby alleges as follows:

14                                            I.      OVERVIEW

15            1.     The rights of free speech and to peaceably assemble are enshrined in our

16   constitutional tradition. Plaintiff supports free-speech rights and the efforts of organizations such

17   as Black Lives Matter who, by exercising such rights, are bringing issues such as systemic racism

18   and unfair violence against African Americans by police to the forefront of the national

19   consciousness. Specifically, Plaintiff supports the free-speech rights of many of those who

20   gathered on Capitol Hill to form what has been called “CHAZ,” standing for the “Capitol Hill

21   Autonomous Zone,” or “CHOP,” meaning the “Capitol Hill Organized Protest” or “Capitol Hill

22   Occupying Protest.”1

23            2.     This lawsuit does not seek to undermine CHOP participants’ message or present a

24   counter message. Rather, this lawsuit is about Plaintiff’s constitutional and other legal rights of

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     1
      This complaint primarily refers to the area as “CHOP,” and the people who participated in CHOP who are not
26   businesses, employees, or residents of the area as “CHOP participants.”


         COMPLAINT - 1                                                         MORGAN LEWIS & BOCKIUS LLP
                                                                                  1301 SECOND AVENUE, SUITE 2800
                                                                                    SEATTLE, WASHINGTON 98101
                                                                                TEL, (206) 407-2200 FAX, (206) 407-2224
                   Case 2:23-cv-00858 Document 1 Filed 06/07/23 Page 2 of 35




 1   which were overrun by the City of Seattle’s decision to abandon and close off an entire city

 2   neighborhood, leaving it unchecked by the police, unserved by fire and emergency health services,

 3   and inaccessible to the public at large, and then materially support and encourage a hostile

 4   occupation of that neighborhood. The City’s decision subjected businesses, employees, and

 5   residents of that neighborhood to extensive property damage, public safety dangers, and an

 6   inability to use and access their properties.

 7           3.     On June 8, 2020, the City abruptly deserted the Seattle Police Department’s East

 8   Precinct on the corner of Twelfth Avenue and E. Pine Street in Seattle’s Capitol Hill neighborhood,

 9   leaving behind numerous barriers that had previously been used as a line between police and

10   protesters.

11           4.     When the City abandoned the precinct and the nearby barriers, a number of

12   individuals who had been in the area took control of the barriers and used them to block off streets

13   in an area around the East Precinct.

14           5.     In the days and weeks after the City abandoned the East Precinct, CHOP

15   participants occupied the public streets, sidewalks, and parks in the area at all hours of the day and

16   night. Rather than seeking to restore order and protect the residents and property owners within

17   CHOP, the City instead chose to actively endorse, enable, and participate in the occupation of
18   CHOP.

19           6.     The City provided Cal Anderson Park, a public park located at the center of CHOP,

20   for use as the staging ground supporting CHOP’s occupation of the surrounding area. Supported

21   by the City, countless CHOP participants resided in the park at all times of the day and night,

22   having turned it into a tent city. At any given time, hundreds of CHOP participants camped out in

23   the park. Violence, vandalism, excessive noise, public drug use, and other crimes were rampant

24   within the park, which is directly across the street from Plaintiff’s storefront.

25           7.     The City’s conduct resulted in CHOP being blocked off from public access. Among

26   other conduct detailed below, the City provided the participants with concrete barriers to use to

      COMPLAINT - 2                                                         MORGAN LEWIS & BOCKIUS LLP
                                                                               1301 SECOND AVENUE, SUITE 2800
                                                                                 SEATTLE, WASHINGTON 98101
                                                                             TEL, (206) 407-2200 FAX, (206) 407-2224
                  Case 2:23-cv-00858 Document 1 Filed 06/07/23 Page 3 of 35




 1   block the streets, which CHOP participants used to barricade the streets and create borders. These

 2   borders, at times, were guarded by armed CHOP participants who oversaw who could or could not

 3   enter CHOP. As a result, the streets were barred to almost all vehicular traffic, making it virtually

 4   impossible for residents, property owners, and businesses to access their buildings, receive

 5   deliveries, and provide goods and services to the few customers willing to enter CHOP.

 6          8.      The City’s conduct also resulted in the elimination of basic public safety within

 7   CHOP and nearby areas. For example, the City enacted a policy under which police would not

 8   enter the CHOP area except during “mass casualties,” and, even in those situations, the response

 9   was, at best, muted and late. After a fatal shooting in the early morning of June 20, 2020, for

10   example, officers did not even approach the area of the shooting until approximately twenty

11   minutes after the shooting, and no professional medical response was available. At other times,

12   even during life-and-death emergencies, the police acquiesced to demands from CHOP

13   participants that they abandon the area. The City acknowledged the serious safety issues it created,

14   in particular noting that there were “dangerous conditions” at night, but the City nonetheless chose

15   to maintain its policy of providing resources and support to the CHOP occupiers.

16          9.      The City’s conduct enabled the widespread destruction and vandalism of private

17   property. Graffiti was pervasive throughout the area—on barriers, streets, sidewalks, and nearly
18   every private building within CHOP. Graffiti that was painted over almost immediately returned,

19   and property owners were told by CHOP participants that if they dared to paint over graffiti, their

20   buildings would be more severely vandalized or even burned to the ground. The City did nothing

21   to prevent this conduct but instead actively endorsed and supported the ongoing occupation of the

22   CHOP area and the destruction of property that accompanied it. As a result, property owners and

23   their tenants were not able to fully use their properties. Property owners and tenants, for instance,

24   had to lock and barricade their garages and loading areas at risk of having CHOP participants

25   entering and vandalizing them.

26          10.     The property owners, businesses, and residents in the area suffered ever-increasing

      COMPLAINT - 3                                                       MORGAN LEWIS & BOCKIUS LLP
                                                                              1301 SECOND AVENUE, SUITE 2800
                                                                                SEATTLE, WASHINGTON 98101
                                                                            TEL, (206) 407-2200 FAX, (206) 407-2224
                     Case 2:23-cv-00858 Document 1 Filed 06/07/23 Page 4 of 35




 1   property damage and economic loss every day that CHOP existed in their neighborhood, all

 2   because of the City’s active support, encouragement, and endorsement of the occupation. In

 3   particular, Seattle Mayor Jenny Durkan provided the CHOP participants with not just tangible

 4   resources but also a de facto stamp of approval. Her tweets, interviews, and other statements made

 5   it clear that the City was fully aware of what was happening, had no plan or timeline for remedying

 6   the ongoing harm, and in fact viewed the occupation of Capitol Hill as something akin to a

 7   perpetual block party, which the City wanted to support because of the viewpoints of CHOP

 8   participants.

 9          11.       Plaintiff and Plaintiff’s tenants pleaded with City representatives to cease enabling

10   the destruction of its business and the imminent dangers posed in the neighborhood but no action

11   was taken to clear out CHOP until July 1, 2020.

12          12.       However, even after CHOP was officially “disbanded” on July 1, 2020, the

13   ramifications of the City’s actions continued to harm Plaintiff. Through December 2020, despite a

14   technical closure of Cal Anderson Park and the removal of most barriers in the streets and

15   sidewalks, the City allowed Cal Anderson Park to remain occupied by a large encampment of

16   protesters and homeless people, with the majority taking up residency across the street from

17   Plaintiff’s business. This was a de facto continuation of the City’s CHOP policies that directly
18   impacted Plaintiff.

19          13.       Again, this case is not about Plaintiff’s agreement or disagreement with the

20   inspiration for CHOP, or the viewpoints expressed by the people occupying that area. Instead, it

21   is about the City’s active, knowing endorsement and support of a destructive occupation of a

22   neighborhood to the detriment of the well-being of those who live and work in that neighborhood.

23                                             II.     PARTIES

24          14.       Plaintiff Hugo Properties LLC is a Washington limited liability company that owns

25   an commercial and apartment building at the corner of Eleventh Avenue and Olive Street in the

26   Capitol Hill neighborhood of Seattle, Washington, directly across the street from Cal Anderson

      COMPLAINT - 4                                                         MORGAN LEWIS & BOCKIUS LLP
                                                                               1301 SECOND AVENUE, SUITE 2800
                                                                                 SEATTLE, WASHINGTON 98101
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                    Case 2:23-cv-00858 Document 1 Filed 06/07/23 Page 5 of 35




 1   Park.

 2            15.    Defendant is the City of Seattle (“the City”), a municipality incorporated in the

 3   State of Washington. The Seattle Police Department (“SPD”) is a division of the City. Jenny

 4   Durkan was the Mayor and chief executive of the City, and a policymaker for the City, at relevant

 5   times.

 6                                III.    JURISDICTION AND VENUE

 7            16.    This Court has subject-matter jurisdiction over this case under 28 U.S.C. § 1331

 8   because this action presents federal questions and seeks to redress deprivations of rights under the

 9   United States Constitution pursuant to 42 U.S.C. § 1983.

10            17.    Venue is proper in this district under 28 U.S.C. § 1391(e)(1) because the events

11   giving rise to these claims occurred in the Western District of Washington.

12                                 IV.     FACTUAL ALLEGATIONS

13            A.     The Creation of CHOP

14            18.    On June 8, 2020, with protests ongoing near the East Precinct, the City emptied the

15   East Precinct of all weapons and valuables, and then abandoned it.

16            19.    The City left behind at the precinct and in the surrounding areas large barriers that

17   had been used in previous days to try to limit the movements of protesters.
18            20.    Predictably, almost immediately after the SPD abandoned the precinct and the

19   barriers, CHOP participants used the barriers to block off streets in the area and create a “no-cop”

20   zone. Initially, the blocked-off area extended to all streets within one block from the precinct.

21            21.    Without any police presence, the CHOP participants organized themselves,

22   declared the area “Free Capitol Hill,” and stationed guards by the barriers that the City had

23   abandoned, thereby creating borders for the occupied area. The area later expanded, was referred

24   to as “CHAZ” for several days, and eventually became known as “CHOP.”

25            22.    CHOP’s unofficial boundaries stretched north to East Denny Way, east to 13th

26   Avenue, south to East Pike Street, and west to Broadway. It encompassed the entirety of Cal

      COMPLAINT - 5                                                        MORGAN LEWIS & BOCKIUS LLP
                                                                              1301 SECOND AVENUE, SUITE 2800
                                                                                SEATTLE, WASHINGTON 98101
                                                                            TEL, (206) 407-2200 FAX, (206) 407-2224
                  Case 2:23-cv-00858 Document 1 Filed 06/07/23 Page 6 of 35




 1   Anderson Park and sixteen city blocks in all.

 2          B.      The Activities of CHOP Participants

 3          23.     After the SPD vacated Capitol Hill, the CHOP participants claimed the area as their

 4   own with a physical presence and a loose form of governance and justice.

 5          24.     CHOP participants have maintained borders with barriers and people patrolling the

 6   perimeter, as well as vehicles parked in the middle of rights-of-way.

 7          25.     Many CHOP participants lived on the streets and sidewalks and in Cal Anderson

 8   Park, in tents such as the following:

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17          26.     They painted graffiti on most available surfaces, and if a property owner painted
18   over the graffiti, the graffiti was typically replaced within a few hours. CHOP participants even

19   threatened business owners with retaliation if they painted over graffiti. Examples of this pervasive

20   graffiti include the following:

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      COMPLAINT - 6                                                       MORGAN LEWIS & BOCKIUS LLP
                                                                               1301 SECOND AVENUE, SUITE 2800
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                                                                             TEL, (206) 407-2200 FAX, (206) 407-2224
               Case 2:23-cv-00858 Document 1 Filed 06/07/23 Page 7 of 35




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                                                             1301 SECOND AVENUE, SUITE 2800
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                    Case 2:23-cv-00858 Document 1 Filed 06/07/23 Page 8 of 35




 1           27.        CHOP participants created various unpermitted, ad hoc food dispensaries and

 2   stores on public property in front of and near private residences and businesses.

 3           28.        CHOP participants created a “medical tent” at the Rancho Bravo restaurant under

 4   a festival tent.

 5           29.        On occasion, CHOP participants acted as a replacement police force, including by

 6   demanding that business owners release individuals who were caught committing crimes and by

 7   attempting to perform their own crime investigations.

 8           30.        CHOP participants occupied the streets and sidewalks twenty-four hours a day, and

 9   had speeches, debates, movies, music, and various other activities—including, in some instances,

10   illegal fireworks shows—on the streets and sidewalks. Disturbances and noise pollution extended

11   well past 10 p.m. and typically into the early morning of the next day.

12           31.        CHOP participants were observed carrying guns in the public streets and parks in

13   broad daylight.

14           32.        Cal Anderson Park was one of the focal points of CHOP. The approximately seven-

15   acre park, located directly across the street from Plaintiff’s buidling, was ostensibly owned by the

16   City, but was entirely handed over to the CHOP participants. The City supported and enabled

17   CHOP’s occupation of the park through providing washing/sanitation facilities, portable toilets,
18   nighttime lighting, and other material support.

19           33.        As a result of the City’s actions, Cal Anderson Park was transformed into a massive

20   tent city for CHOP participants, as shown here.

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24             2.

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      COMPLAINT - 8                                                         MORGAN LEWIS & BOCKIUS LLP
                                                                                1301 SECOND AVENUE, SUITE 2800
                                                                                  SEATTLE, WASHINGTON 98101
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                  Case 2:23-cv-00858 Document 1 Filed 06/07/23 Page 9 of 35




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 9          34.     Members of the public could not use Cal Anderson Park. CHOP’s control of the

10   park continued unabated until July 1, 2020, when it was temporarily cleared. Local residents

11   attempting to take pictures too close to Cal Anderson Park were threatened by CHOP participants,

12   who said they would steal their smartphones.

13          35.     CHOP participants even built makeshift gardens on the park’s lawn to grow food

14   for CHOP. The City handed over public property in the park for this use, as shown here:

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22          36.     The gardens remain in Cal Anderson Park, despite having been built in violation of

23   City laws, and (on information and belief) have not received the approval to remain a permanent

24   fixture as required pursuant to Cal Anderson Park’s historic designations.

25          37.     Although Cal Anderson Park was officially cleared and closed to the public on July

26   1, 2020, the City almost immediately allowed the park to be reoccupied without any consequences

      COMPLAINT - 9                                                      MORGAN LEWIS & BOCKIUS LLP
                                                                            1301 SECOND AVENUE, SUITE 2800
                                                                              SEATTLE, WASHINGTON 98101
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                  Case 2:23-cv-00858 Document 1 Filed 06/07/23 Page 10 of 35




 1   for those occupying it, until the encampment was once again removed in December 2020. The

 2   post–July 1 encampment was smaller but at least as troublesome for Plaintiff as CHOP, given its

 3   location of only a few dozen feet from Plaintiff’s front door, with a clear sight line to Plaintiff’s

 4   building.

 5          38.     The post–July 1 encampment included tents that were set up in the supposedly

 6   closed Cal Anderson Park for what was indicated as “ANTIFA outreach,” which entailed handing

 7   out free food, beverages, and clothing to those encamped in the park.

 8          39.     Cal Anderson Park’s occupation was a central nuisance and key source of damage

 9   for Plaintiff. The various occupations of the park created excessive noise, even late into the night,

10   in violation of the City’s ordinances. Occupants set bonfires and lit fireworks at all hours of the

11   day and night. Trash, feces, and other refuse built up in the park, affecting the whole area. Worst

12   of all, Cal Anderson Park was one of the most violent areas of CHOP and remained violent and

13   dangerous throughout 2020.

14          C.      The Effects of CHOP and the Subsequent Occupation

15                  1.      Lack of public-safety assistance even in life-threatening
                            circumstances.
16

17          40.     The City’s endorsement and recognition of CHOP went so far that the SPD adopted
18   a policy and practice of not entering an area it called “the Red Zone” except in the case of what

19   the police called a “mass casualty event (e.g., active shooter, structural fire likely to endanger

20   human lives, etc.).” The Red Zone encompassed all of CHOP and included Plaintiff’s location

21   from its official adoption on June 12, 2020 until the morning of July 1, 2020, although the policy

22   was de facto in place as of the night of June 8, 2020.

23          41.     Under this policy, felonies that did not endanger significant numbers of lives, such

24   as rape, kidnapping, and assaults not involving weapons, were deemed unworthy of an in-person

25   response. Anyone wishing to report such a crime would have to leave the area that the SPD felt

26   was too dangerous to send its officers into.

      COMPLAINT - 10                                                      MORGAN LEWIS & BOCKIUS LLP
                                                                              1301 SECOND AVENUE, SUITE 2800
                                                                                SEATTLE, WASHINGTON 98101
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                  Case 2:23-cv-00858 Document 1 Filed 06/07/23 Page 11 of 35




 1          42.     And under the policy, even when the SPD was faced with a “mass casualty event”

 2   inside the Red Zone, they did not respond directly; instead, the policy required officers to gather

 3   outside the Red Zone for strategic planning before responding to murders or structural fires.

 4          43.     The SPD additionally declared as part of the Red-Zone policy that in the wider area

 5   known as the Edward Sector (which roughly correlates to the entire Capitol Hill neighborhood)

 6   even the most minor crimes would require four officers to be available to respond, even if it would

 7   normally require only one.

 8          44.     This predictably had an immediate impact on the neighborhood by both increasing

 9   response times and the likelihood that crimes would be committed and unreported. As then–SPD

10   Chief Carmen Best explained on June 11, 2020, as she stood next to then-Mayor Durkan:

11                  SPD has a responsibility to provide public safety services to the
                    entire East precinct and the City. The actions of a small group cannot
12
                    and should not deprive an entire segment of our community from
13                  public-safety services. In the first day of the SPD not having access
                    to the precinct, response times for crimes in progress were over
14                  fifteen minutes, about three times as long as the average . . . . If that
                    is your mother, or your sister, your cousin, your neighbor’s kid that
15                  is being raped, robbed, assaulted, and otherwise victimized, you’re
16                  not going to want to have to report that it took the police three times
                    longer to get there to provide services to them. The difference in the
17                  amount of time could protect someone’s life and prevent a violent
                    attack.
18

19          45.     Actual events demonstrate that, if anything, Chief Best was being conservative in

20   her description of the public-safety emergency in CHOP.

21          46.     At approximately 2:20 a.m. on June 20, 2020, there were two people shot in CHOP.

22   At least one of the shootings happened at or near the intersection of Tenth Avenue and Pine Street,

23   around the corner from the abandoned East Precinct. One of the victims died before reaching the

24   hospital. The second was admitted with life-threatening injuries. No suspects have been identified

25   or taken into custody.

26          47.     Raw video streamed from the area shortly after that shooting demonstrates the


      COMPLAINT - 11                                                        MORGAN LEWIS & BOCKIUS LLP
                                                                                1301 SECOND AVENUE, SUITE 2800
                                                                                  SEATTLE, WASHINGTON 98101
                                                                              TEL, (206) 407-2200 FAX, (206) 407-2224
                   Case 2:23-cv-00858 Document 1 Filed 06/07/23 Page 12 of 35




 1   enormity of the risk created by the City for anyone who lives or works in CHOP. That video clearly

 2   captured the following:2

 3                      a.    The video appears to start a couple of minutes after the shooting.

 4                      b.    One shooting victim was taken to the CHOP “medic tent” located in a

 5            parking lot under a festival tent.

 6                      c.    No professional medics arrived to tend to the first shooting victim despite

 7            being in the area and seeing what was going on. The first victim was transferred by private

 8            vehicle to Harborview Medical Center and died.

 9                      d.    No police were in the area until approximately eighteen minutes into the

10            video, when cars and lights can be seen several blocks away, and police can be heard on

11            megaphones demanding that barriers be moved to allow the police to enter.

12                      e.    Approximately nineteen minutes into the video, a small phalanx of

13            approximately eight police officers entered the area on foot and arrived in the area of the

14            medical tent, apparently for the purpose of trying to locate and extract the first shooting

15            victim.

16                      f.    The phalanx of officers was immediately surrounded, yelled at, and pursued

17            by CHOP participants.
18                      g.    One police car finally entered the area approximately twenty minutes into

19            the video.

20                      h.    The police did not engage with the crowd and promptly left the area, after

21            which CHOP participants created a human chain across the street to bar any further entry.

22                      i.    There was a second shooting victim in CHOP located a couple of blocks

23            away. It appears that no medics or police responded at all to the location of the second

24            victim.

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         https://www.facebook.com/WWConverge/videos/297548387941384/?v=297548387941384


         COMPLAINT - 12                                                    MORGAN LEWIS & BOCKIUS LLP
                                                                               1301 SECOND AVENUE, SUITE 2800
                                                                                 SEATTLE, WASHINGTON 98101
                                                                             TEL, (206) 407-2200 FAX, (206) 407-2224
                  Case 2:23-cv-00858 Document 1 Filed 06/07/23 Page 13 of 35




 1                  j.      Approximately thirty-five minutes into the livestream video, the second

 2         victim was placed into a plain white cargo van and presumably taken to the hospital. A voice

 3         can be heard explaining that Medic One drove by but did not come to the assistance of the

 4         person who ended up in the white van.

 5                  k.      Shortly after the second victim was driven away, private citizens began

 6         looking for bullet casings. No police were on the scene to perform any investigation in the

 7         immediate aftermath of the shooting.

 8          48.     Later on the morning of June 20, 2020, Mayor Durkan called this shooting

 9   “foreseeable and avoidable” in an email to Chief Best and Fire Chief Harold Scoggins.

10          49.     On June 21, 2020, another shooting occurred in the area at approximately 11:00 at

11   night. There was no police or medic response, and the shooting victim was transported to the

12   emergency room by private vehicle.

13          50.     In a press conference with Mayor Durkan on June 22, 2020, Chief Best reiterated

14   the seriousness of the public-safety situation, stating:

15                  there are countless individuals who are in the CHOP that are there
                    to engage, as the Mayor said earlier, in peaceful demonstrations. But
16
                    there are also groups of individuals engaging in shootings, a rape,
17                  assaults, burglary, arson, and property destruction, and I have their
                    police reports right here. [*Holding up a stack of papers*] I’m not
18                  making it up. These things have happened. We cannot walk away
                    from the truth of what is happening there. This is not about politics
19                  and I’m not a politician. This isn’t a debate about First Amendment
20                  rights. This is about life or death. So we need a plan.

21          51.     After June 20, there were shootings in and around CHOP nightly or nearly nightly,

22   many of which police and fire did not respond to in person. One of these was in the early hours of

23   June 29, at 12th and Pike, and left a sixteen-year-old dead and a fourteen-year-old in critical

24   condition.

25          52.     According to reports, the shooting began when “CHOP security” opened fire on a

26   white Jeep that had crashed into the CHOP barricades. Reports indicate that over a dozen shots


      COMPLAINT - 13                                                     MORGAN LEWIS & BOCKIUS LLP
                                                                             1301 SECOND AVENUE, SUITE 2800
                                                                               SEATTLE, WASHINGTON 98101
                                                                           TEL, (206) 407-2200 FAX, (206) 407-2224
                   Case 2:23-cv-00858 Document 1 Filed 06/07/23 Page 14 of 35




 1   were fired. Police and fire did not respond to the scene until the victims had been transported by

 2   private vehicle and the crime scene had been compromised and cleared of evidence.

 3           53.     The City did not provide emergency medical services at the scene of the shooting

 4   in the CHOP area. Instead, one of the victims was transported by private vehicle out of the CHOP

 5   area and to a hospital. The other had to be taken “to a meeting point with Seattle Fire Department

 6   Personnel, who then transported the victim to Harborview Medical Center.”

 7           54.     By the time the police reached the scene of the shooting at 12th and Pike to begin

 8   an investigation, much of the key evidence had already been tampered with or lost. As the SPD

 9   blotter put it, when police arrived on the scene to inspect the Jeep, “it was clear the crime scene

10   had been disturbed.”

11           55.     Over the course of nine days, there were two homicides in CHOP. There had been

12   no homicides in Capitol Hill in 2020 before CHOP started, and in all of 2019 there were only three

13   homicides in the entire Capitol Hill neighborhood.

14           56.     An academic study conducted in 2021 regarding crime in and near CHOP

15   confirmed a direct, causal correlation between the City’s police policies in June 2020 and a sharp

16   increase in crime in CHOP and the surrounding neighborhood.

17           57.     During June 2020, the Seattle Fire Department (“SFD”) also had its own “red zone”
18   it would not enter without police first securing the area. In practical terms, this meant that there

19   were no paramedic services available for anything other than “mass casualty events” in and around

20   CHOP, and that even in those cases the SFD often did not show up at all because the SPD failed

21   to secure the scene.

22           58.     It became public knowledge soon after the adoption of the police and fire zones that

23   police and medics would not respond. This emboldened and attracted criminal elements and made

24   it significantly less likely that victims would bother to call police.

25           59.     The SPD’s lack of response to Cal Anderson Park and the area around Plaintiff’s

26   location continued after CHOP as well. SPD officers informed the owner of Oma Bap, Plaintiff’s

      COMPLAINT - 14                                                          MORGAN LEWIS & BOCKIUS LLP
                                                                                 1301 SECOND AVENUE, SUITE 2800
                                                                                   SEATTLE, WASHINGTON 98101
                                                                               TEL, (206) 407-2200 FAX, (206) 407-2224
                    Case 2:23-cv-00858 Document 1 Filed 06/07/23 Page 15 of 35




 1   commercial tenant, that they were under instructions not to enter Cal Anderson Park for any reason,

 2   even months after CHOP, and even though it was known that individuals who had broken Oma

 3   Bap’s windows were residing in the park.

 4           60.      And when officers did respond to some calls for assistance in the vicinity of

 5   Plaintiff’s location after July 1, 2020, the response was late and inadequate. This included, for

 6   example, responding after thirty minutes to a call about an individual who had pointed a gun at

 7   numerous people, and confiscating the gun but not arresting the assailant. There were also times

 8   when the police never responded to calls for assistance, despite the fact that Plaintiff’s building is

 9   located approximately one block from the East Precinct. In September 2020, for example, the

10   manager of Plaintiff’s building reported a large fight with numerous participants near the building,

11   but the police never responded.

12                    2.     Impeded access to Plaintiff’s property.

13           61.      The streets and sidewalks directly adjacent to Plaintiff’s property and in the nearby

14   area were constantly impeded during CHOP—as well as on occasion during the subsequent

15   occupation of Cal Anderson Park—by CHOP participants, subsequent park occupants, and the

16   City itself.

17           62.      CHOP participants regularly moved makeshift barriers, large objects, and barriers
18   provided by the City to CHOP wherever they wished to block traffic, sidewalks, and all other

19   manner of ingress and egress. This almost always included both Eleventh Avenue and Olive Street.

20   Plaintiff’s building is located at the corner of Eleventh and Olive.

21           63.      In many cases, this meant that Plaintiff’s employees, managers, and tenants could

22   not safely access Plaintiff’s building. This included numerous occasions where building managers

23   and tenants could not access the building’s parking lot, or could not do safely, and had to park

24   elsewhere and attempt to access their homes or business from where they were able to park.

25           64.      The barriers and their impact on Plaintiff were magnified by the City’s decision to

26   turn the corner of Eleventh and Olive—again, just outside the main door of Plaintiff’s building —

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                   Case 2:23-cv-00858 Document 1 Filed 06/07/23 Page 16 of 35




 1   as the epicenter of its public-sanitation support of CHOP. The City provided garbage and restroom

 2   service to CHOP participants by placing enormous dumpsters and numerous portable toilets at the

 3   intersection, thereby ensuring that occupants were continually dumping garbage and human waste

 4   outside Plaintiff’s building, and making the area unsightly, unsanitary, unsafe, treacherous to

 5   navigate, and unattractive to current and prospective tenants.

 6           65.     Although the dumpsters and at least some of the portable toilets were removed in

 7   July 2020, the portion of Cal Anderson Park near Plaintiff’s building retained its reputation as the

 8   preferred occupation area of the park to set up residency for the remainder of 2020 as a direct result

 9   of the City’s designation of the corner as an area to provide services to the occupiers. This included

10   the park occupiers continuing to use Eleventh and Olive throughout 2020 as a place to dump piles

11   of trash, knowing the City would come and collect it, which it continued to do.

12                   3.     Impact on Plaintiff.

13           66.     The impact on Plaintiff’s income was immense. Plaintiff lost numerous tenants who

14   broke their leases early or who did not renew leases. Plaintiff also had to provide numerous breaks

15   on rent to residential and commercial tenants to both recognize the conditions outside the building

16   and attempt to retain as many tenants as it could.

17           67.     Because of the conditions created by CHOP, in June 2020 and subsequently,
18   Plaintiff’s commercial tenant, Korean restaurant Oma Bap, suffered significantly decreased

19   revenue and profits, and as a result Plaintiff had to make extensive rent concessions to Oma Bap

20   until it recovered.

21           68.     Access to Plaintiff’s building was impeded or impaired by the City’s actions,

22   CHOP, and CHOP participants in at least the following ways:

23           a.      On multiple occasions in June 2020, vendors and delivery services for Plaintiff’s

24           tenant could not access the building or determined it was unsafe to do so because of CHOP

25           and its aftermath.

26           b.      On multiple occasions in June 2020 and later, tenants and Oma Bap customers

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                   Case 2:23-cv-00858 Document 1 Filed 06/07/23 Page 17 of 35




 1           could not or did not access Plaintiff’s building because of the conditions created by CHOP

 2           and its aftermath.

 3           69.     The outside of the building, including especially Oma Bap, was regularly

 4   vandalized, resulting in broken windows and boarded windows that directly affected Plaintiff’s

 5   ability to retain and attract tenants.

 6           70.     Many of Plaintiff’s tenants were especially disturbed by the numerous bonfires in

 7   the area and their ability to spread rapidly to nearby areas, including Plaintiff’s building, especially

 8   given that the fire department was not responding.

 9           71.     The City was specifically aware of the harm caused to Plaintiff’s building and its

10   business. Plaintiff’s owner met with representatives of the Mayor’s office in June 2020 about the

11   conditions at the building and CHOP in general. The owner of Oma Bap, Peter Pak, also repeatedly

12   spoke to City officials, including representatives of the Mayor’s office, about what Oma Bap was

13   experiencing was experiencing, both during and after CHOP. One of those officials, Michael

14   Wells, widely distributed summaries of his conversations with Mr. Pak to others in City leadership

15   in June 2020.

16           72.     Plaintiff filed a claim for damages with the City on April 7, 2023, for an estimated

17   more than $850,000, in damages resulting from vacancies, rent concessions, parking cost
18   concessions, payroll incentives, building repairs, and additional security. As of the filing of this

19   complaint, on June 7, 2023, the 60-day notice period had passed without resolution of the claim.

20           D.      The City Actively Supported and Encouraged CHOP and CHOP
                     Participants
21

22           73.     In the face of all this destruction, City leaders, including Mayor Durkan, embraced

23   the existence, message, and methods of CHOP and CHOP Participants. They did this with physical

24   support and extensive verbal support and encouragement that expressly endorsed the barricading

25   and occupation of City streets and parks.

26           74.     Since the day that the City abandoned the East Precinct, the City had full knowledge

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                  Case 2:23-cv-00858 Document 1 Filed 06/07/23 Page 18 of 35




 1   of the problems created for businesses and residents in and around CHOP, including property

 2   damage, lack of police response, the inability for workers and residents to enter and leave the area,

 3   the inability for businesses to receive deliveries, and other adverse impacts on residents,

 4   businesses, and property owners in the area. This knowledge was based on complaints from people

 5   such as Plaintiff, as discussed above, and direct observation of the area by City officials. This

 6   included several visits to CHOP by Mayor Durkan and her chief of staff, as well as the daily

 7   presence during June 2020 of Chief Scoggins, then–Seattle Public Utilities head Mami Hara, then-

 8   director of the Seattle Department of Transportation Zimbabwe, and Seattle Parks Department

 9   official Joey Furuto. These individuals reported back to the Mayor and the Mayor’s office about

10   what they had observed.

11          75.       The City nevertheless adopted a policy supporting the CHOP occupation, acting

12   with deliberate indifference toward those suffering harm from it. Evidence of the City’s knowledge

13   includes the following:

14                    a.     At a June 11, 2020 press conference with Mayor Durkan, Chief Best made

15          it clear that the City was fully aware that its 9-1-1 response times had tripled and that there

16          was a serious public-safety crisis for anyone who lives or works in CHOP.

17                    b.     On June 16, 2020, the City stated, via a press release from the Mayor’s
18          office:

19                    Beginning last Tuesday, City officials have been on site on Capitol
20                    Hill to work [to] meet community needs including
                      hygiene, sanitation and safety. Utilities including Puget Sound
21                    Energy and SPU have been able to respond to the area for service.
                      Seattle Police Chief Carmen Best has visited the site multiple
22                    times. Over the past week, conversations continued between City
                      officials, organizers onsite for the CHOP, residents and businesses.
23
                      . . . Every day, Seattle Fire Chief Harold Scoggins, Seattle
24                    Department of Transportation Director Sam Zimbabwe, and Seattle
                      Public Utilities General Manager Mami Hara have been on site. On
25                    Sunday, they held a meeting with onsite organizers, small
                      businesses, and residents to discuss proposed changes to the protest
26

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              Case 2:23-cv-00858 Document 1 Filed 06/07/23 Page 19 of 35




 1               zone.
 2               c.        Mayor Durkan and the SPD were inundated with complaints about CHOP

 3        that describe in detail the extensive property damage, restricted access, and economic loss

 4        that residents, businesses, and property owners were suffering.

 5               d.        In response to at least some requests from desperate businesses, property

 6        oweners, and residents for her to cease her support of CHOP, Mayor Durkan’s office

 7        provided a stock response acknowledging that the City was “maintaining” a space for

 8        CHOP, including by, for example, providing a “sturdier concrete barrier” to help CHOP

 9        block a public street. The stock response stated in part as follows:

10                    Thank you for reaching out.
11
                      The Capitol Hill Organized Protest has emerged as a gathering
12                    place where community members can demand change of their
                      local, state, and federal government. Capitol Hill and Cal
13                    Anderson Park have long been a gathering place for justice. While
                      there have been inaccurate and misleading depictions of the CHOP
14                    from the President and some national media, the City believes first
15                    amendment activities can continue while also maintaining public
                      safety and allowing access for residents and businesses who
16                    operate in the area. Mayor Durkan believes these changes can help
                      ensure any focus of the CHOP and Cal Anderson will allow for
17                    peaceful demonstrations to continue.
18
                      Beginning last Tuesday, City officials have been on site on Capitol
19                    Hill to work [to] meet community needs including hygiene,
                      sanitation and safety. Utilities including Puget Sound Energy and
20                    SPU have been able to respond to the area for service. Seattle
                      Police Chief Carmen Best has visited the site multiple times. Over
21                    the past week, conversations continued between City officials,
                      organizers onsite for the CHOP, residents and businesses. The
22
                      City is committed to maintaining space for community to come
23                    together, protest and exercise their first amendment rights. Minor
                      changes to the protest zone will implement safer and sturdier
24                    barriers to protect individuals in this area, allow traffic to move
                      throughout the Capitol Hill neighborhood, ease access for
25                    residents of apartment building in the surrounding areas, and help
                      local businesses manage deliveries and logistics. Additionally all
26

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 1                        plans have been crafted with the goal of allowing access for
                          emergency personnel including fire trucks.
 2

 3                        Every day, Seattle Fire Chief Harold Scoggins, Seattle
                          Department of Transportation Director Sam Zimbabwe, and
 4                        Seattle Public Utilities General Manager Marni Hara have been on
                          site. On Sunday, they held a meeting with onsite organizers, small
 5                        businesses, and residents to discuss proposed changes to the
                          protest zone. In coordination with protesters onsite, work began at
 6                        6:30 a.m. on Tuesday to remove a tent barrier at 10th and Pine and
 7                        replace it with a sturdier concrete barrier to improve public safety.
                          The City has successfully worked with protesters onsite to
 8                        reconfigure the CHOP to allow for public safety and better access
                          for the local community. That has involved rerouting traffic,
 9                        freeing up alley access, opened streets, and replacing makeshift
                          barriers with heavy concrete barriers that can be painted.
10

11                   e.        Mayor Durkan herself personally visited CHOP and saw what was

12            happening. In an interview given in her City offices on Facebook Live on June 12, 2020,

13            Mayor Durkan made clear that she had seen the barriers and talked to CHOP participants

14            and apparently approved of them using an individual with behavioral health issues to

15            enforce the perimeter: “It’s interesting, when I was at the CHAZ, walking around, similar

16            kind of philosophy, because there’s this one guy, some behavioral health issues, and it was

17            like, look, he has some hard times, and he helps on that barricade over there, and then when

18            he starts having a hard time, we just bring him over here, take care of him, feed him. And

19            that’s what you gotta do, right?”3

20                   f.        On June 22, 2020, Mayor Durkan stated at a press conference:

21   3
       https://www.facebook.com/WWConverge/videos/250593506242797/?__tn__=kC-
22   R&eid=ARBT9Zl4Zd0BnqFUyG1bgaapWeIo6meLrp9YI7QgilK36tLAFfNcpij4zHFTEwP0wNzoVQK7O1LPtpa8
     &hc_ref=ARTeZJ-
     MVhRABE0ZxnSxzApxaoAJVsmqCzhgB7vaP0wwkcuhf0CtwXnjqpvqfAIKLQk&__xts__[0]=68.ARDhXBScmD
23
     _P9GnI4X2NL4z0eUgRkuV8hj_BUWpBgtqxg133nAdZz00w2pqmYlrfVrVanpZgUlgy2rw9hbGAwTWLjcxp1fAP
     AVjYhDHpvEOpeSmJavdPNPPlK_wodfv_idPwOeVfsbgsB04YjUKfXfnUZvddSThmUspA_o5oqETWWFluP2o_
24   Yh-
     tP64swtkdKoXl374Vd0zqTxRoapQChSzCt5dXToGlW6ESVGiUVQznk42YXs8U2lpzAwJmp99RXyrNW3fSYzU
25   cPopUKTNN-
     KP7EBDNdje9UibYcP84111ipRk31bjIk5XrSRcU2rjmqzsd_KjoOwrpoHYKssQd5Vnwe6OvBXCSGW_4ctaQKX
26   mwUcmaTA


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              Case 2:23-cv-00858 Document 1 Filed 06/07/23 Page 21 of 35




 1
                  Over the days, tens of thousands of people have peacefully gathered
 2                or visited Capitol Hill. During the day, there have been no major
 3                incidents. But we know it is very different at night, particularly in
                  recent nights. The cumulative impacts of the gatherings and protests
 4                and the nighttime atmosphere and violence has led to increasingly
                  difficult circumstances for our businesses and residents. Most of
 5                them supported protesters’ right to gather at the outset. They stand
                  with them in solidarity. But the impacts have increased, and the
 6                safety has decreased. Both on Saturday morning and last night there
 7                were incidents of gun violence. And that escalating violence
                  concerns me, Chief Best, residents, businesses, and the greater
 8                community. All of Capitol Hill has been impacted.

 9                g.      At the same June 22, 2020 press conference, Chief Best stated that reports

10        to the police demonstrate that some CHOP participants are “engaging in shootings, a rape,

11        assaults, burglary, arson, and property destruction, and I have their police reports right here.

12        I’m not making it up. These things have happened.”

13                h.      At a press conference on June 29, 2020, the morning after yet another fatal

14        shooting in the CHOP area, Chief Best repeatedly emphasized how dangerous the situation

15        was within CHOP, stating:

16                [I]t’s very unfortunate that we have yet another murder in this area
                  identified as the CHOP. Two African American men dead at a place
17
                  where they claim to be working for Black Lives Matter. But they’re
18                gone. They’re dead now. And we’ve had multiple other incidents –
                  assaults, rape, robbery, and shootings. And so, you know, this is
19                something that is going to need to change. We’re asking people to
                  remove themselves from this area for the safety of the people. If they
20                care about people, they’re gonna have to try to help us to make it
                  safe. Not opposed to anybody’s issue or concern. They certainly can
21
                  demonstrate, you know, and peacefully any place, but they can’t
22                hostilely take over a neighborhood and cause the crime levels to go
                  up like this. Two men are dead. Two men are dead. And a child, a
23                14-year-old, is hospitalized and we don’t know what is gonna
                  happen to that kid.
24
                  ….
25

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              Case 2:23-cv-00858 Document 1 Filed 06/07/23 Page 22 of 35




 1               You know, at this point, the East Precinct, while important to us,
                 what’s much more important is that this neighborhood is not under
 2               siege and that there are not people being victimized. You know, the
 3               precinct is a building. The precinct is a building. But people dying,
                 rapes, robbery, assault – that is what we need to deal with. That’s
 4               what we need to deal with.

 5               ….
 6               I have said this multiple times, it is taking us three and a half times
 7               longer to get here. We have a fire station that is less than two blocks
                 from here, they cannot go into this area. We have had so many issues
 8               and problems. And, you know, I have the police reports, people have
                 identified as victims . . . we need to make sure that we are able to
 9               provide public safety. That is what needs to happen.
10
                 ….
11
                 As an African American woman, with uncles and brothers and stuff,
12               I wouldn’t want them to be in this area. We’ve had two men killed.
                 And we have a child that’s injured from gunfire. So this is a real
13               problem. And I would question why we would continue to allow this
                 to happen.
14

15               ….

16               I think everybody in city government has been talking about what
                 we can do to have a reasonable response, that limits any issue or
17               danger, but we also recognize that a place where we have seen now
                 two murders, multiple people injured, there needs to be some more
18
                 action for public safety. I think everybody can agree on that.
19
                 ….
20
                 [T]his situation as you reporters are walking around, you can see
21               that it can be dangerous and unacceptable, and so we’re gonna have
22               to work through this. This is not safe for anybody. Not anybody.
                 Multiple cases. Two murders. And it’s not right. So, thank you for
23               your time. I think there will be other times we will get a chance to
                 talk and go over it. But, as you can see, this is not an acceptable
24               situation. Thank you.
25               i.     At one point during this same press conference, in response to a question
26

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                  Case 2:23-cv-00858 Document 1 Filed 06/07/23 Page 23 of 35




 1          about whether the City-provided barriers had saved lives by preventing a Jeep from

 2          entering the CHOP area, Chief Best responded:

 3                  Yeah, I don’t agree. I absolutely do not agree with that. I think that
                    is absolutely ludicrous. I’m not gonna let the detractors and the
 4                  naysayers and the agitators be the ones who are the voice here. There
                    are people who live here, there are multiple people who are being
 5                  injured and hurt, and we need to do something about it. It is
 6                  absolutely irresponsible for this to continue.

 7                  j.     On July 1, 2020, Chief Best stated in a press conference, “This order and

 8          our police response comes after weeks of violence in and around the Capitol Hill Occupied

 9          Protest zone, including multiple shootings resulting in many injuries and two deaths. . . .

10          Our job is to support peaceful demonstrations. But what has happened here on these streets

11          over the last two weeks – few weeks, that is – is lawless and it’s brutal and bottom line it

12          is simply unacceptable.”

13                  k.     The City adopted its police Red Zone and its fire department red zone, and

14          directed other employees to avoid CHOP and Cal Anderson Park out of a concern for the

15          safety of its employees, but left Plaintiff and others to fend for themselves in the area it

16          deemed too dangerous for its workforce.

17          76.     The extent of the City’s knowledge of what was going on in CHOP is demonstrated

18   by the following from Mayor Durkan’s emergency order that went into effect on July 1, 2020:

19

20

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              Case 2:23-cv-00858 Document 1 Filed 06/07/23 Page 24 of 35




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                     Case 2:23-cv-00858 Document 1 Filed 06/07/23 Page 25 of 35




 1             77.     Despite having knowledge of exactly what was happening at CHOP by being there

 2   every day and in regular contact with area residents, property owners,, and business owners,

 3   including Plaintiff, the City acted with deliberate indifference toward the safety and property

 4   interests of Plaintiff and those other residents, property onwers and businesses. Evidence of that

 5   deliberate indifference includes the following:

 6                     a.     The City deliberately and actively chose to preserve and facilitate the

 7             occupation, through the various means described throughout this complaint, at the expense

 8             of individuals living and working in the neighborhood, including Plaintiff.

 9                     b.     The City kept its own employees out of the area as much as possible, fearing

10             for their safety, but left individuals who lived and worked in the neighborhood, including

11             Plaintiff, to fend for themselves with no police response.

12             78.     The City also enabled the blocking of ingress and egress for businesses, residents,

13   and properties in the area, without providing Plaintiff any notice of this deprivation or opportunity

14   to be heard on the matter. The City reached an informal agreement with CHOP participants to

15   provide dozens of concrete barriers to allow limited one-way access on Eleventh and Twelfth

16   Avenues starting on June 16, 2020 (Plaintiff was not invited to participate in these negotiations,

17   and the agreement for limited access failed when CHOP participants moved barriers to block
18   streets that were supposed to be open). The City also declared the streets and sidewalks adjacent

19   to Plaintiff’s business as a site for collection of garbage and human waste, without providing

20   Plaintiff notice or an opportunity to comment.

21             79.     At the same time the City acted with deliberate indifference to Plaintiff and other

22   property owners and people who live and work in or near CHOP, the City physically aided,

23   endorsed, and actively encouraged CHOP participants to continue their occupation of public

24   spaces.

25             80.     The City physically aided CHOP participants in their occupation of the area in at

26   least the following ways:

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 1                      a.     When the City abandoned the East Precinct on June 8, 2020, it left behind

 2           the barriers that had previously blocked street access and protected the East Precinct from

 3           protesters. These barriers foreseeably served as the raw materials that allowed CHOP

 4           participants to block streets and create CHOP within a very short time.

 5                      b.     On June 16, 2020, the City provided even more concrete barriers to CHOP

 6           participants so that CHOP participants could replace wooden barriers and fortify their

 7           blockages of streets.

 8                      c.     The City provided portable toilets and wash stations for CHOP participants.

 9                      d.     The City provided medical equipment, including beds, people movers, and

10           other supplies, to the CHOP “medical tent.”

11                      e.     The City provided nighttime lighting at Cal Anderson Park.

12                      f.     The City allowed people encamped in Cal Anderson Park to use the hose

13           bibb for private use.

14                      g.     The City placed speed bumps around the area along with “local access”

15           signs designed to keep people from visiting the area, and even went so far as to tell internet

16           map companies that they should route people seeking online directions to drive out of their

17           way to avoid the area.
18                      h.     The City provided garbage service to groups occupying the area and Cal

19           Anderson Park both during and after CHOP.

20           81.        The City provided this physical assistance to CHOP despite being aware that doing

21   so would likely encourage and allow CHOP to exist and persist longer than it would have without

22   that assistance.

23           82.        As the City admitted in Mayor Durkan’s July 1, 2020 emergency order, the City

24   “facilitated” CHOP by:

25                      “*     Providing basic hygiene, water, litter, and garbage removal.

26                      *      Temporarily allowing obstructions of public parks, streets, and sidewalks.

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                      Case 2:23-cv-00858 Document 1 Filed 06/07/23 Page 27 of 35




 1                       *         Modifying SPD and SFD response protocols. . . .

 2                       *         Modifying streets and pedestrian access routes.

 3                       *         Providing social services outreach and engagement. . . .

 4                       *         Facilitating modified city services delivery to local residents and businesses

 5                                 impacted by events in this area.”

 6              83.      The City’s policies effectively authorized the actions of the CHOP participants. The

 7   City communicated clearly to CHOP participants that they could indefinitely continue occupying

 8   the streets in the area, maintaining their barricades, and blocking traffic, all without interference

 9   from the City. The City communicated that message in at least the following ways:

10                       a.        On June 11, 2020, during a joint press conference with the Chief of Police,

11              Mayor Durkan stated: “There’s not a specific date . . . because we are trying to do things

12              that are responsible.”

13                       b.        On June 12, 2020, in response to a direct question from CNN’s Chris

14              Cuomo about how long the City would allow CHOP participants to continue to occupy the

15              neighborhood, Mayor Durkan responded, “I don’t know. We could have the Summer of

16              Love.”

17                       c.        On June 16, 2020, the City announced through an official statement from
18              Mayor Durkan that it had negotiated with CHOP participants to adjust some but not all of

19              their barriers to allow one-way traffic on Twelfth Avenue.4 This agreement was an

20              endorsement of CHOP participants’ other barriers and its overall occupation of the

21              neighborhood.

22                       d.        In announcing the supposed opening of a one-way corridor, the City made

23              clear in a statement from the Mayor that it was an active participant in maintaining and

24              solidifying CHOP barriers and boundaries:

25

26   4
         https://durkan.seattle.gov/2020/06/city-of-seattle-responds-to-the-capitol-hill-organized-protest/


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                      Case 2:23-cv-00858 Document 1 Filed 06/07/23 Page 28 of 35




 1                         The City is committed to maintaining space for community to come
                           together, protest and exercise their first amendment rights. Minor
 2                         changes to the protest zone will implement safer and sturdier
 3                         barriers to protect individuals in this area, allow traffic to move
                           throughout the Capitol Hill neighborhood, ease access for residents
 4                         of apartment building in the surrounding areas, and help local
                           businesses manage deliveries and logistics. [emphasis added]5
 5

 6                       e.        Also on June 16, 2020, Mayor Durkan indicated that the City agreed that

 7              police officers will only enter the occupied area for “significant life-safety issues.”6

 8                       f.        On June 22, 2020, Mayor Durkan and Chief Best held a joint press

 9              conference in which they expressed concern about the impacts of CHOP but also indicated

10              at that time there was no specific timeline or plan for lessening those impacts or removing

11              the blockades, barriers, and tents from CHOP.

12              84.      The City also made numerous statements indicating that it endorsed and would

13   continue to support what CHOP participants were doing in the area, thereby ensuring the continued

14   and indefinite occupation and blockading of the neighborhood, and all the damage it had caused

15   and will cause. The City’s statements include at least the following:

16                       a.        On June 11, 2020, Mayor Durkan posted the following on her Twitter page:

17              “The Capitol Hill Autonomous Zone #CHAZ is not a lawless wasteland of anarchist

18              insurrection – it is a peaceful expression of our community’s collective grief and their

19              desire to build a better world.”

20                       b.        On June 11, 2020, Mayor Durkan also posted on her Twitter page: “For the

21              thousands of individuals who have been on Capitol Hill, I think you’ve seen what I’ve

22              seen: the painting of Black Lives Matter along Pine Street, food trucks, spaghetti potlucks,

23              teach-ins, and movies.”

24                       c.        On June 11, 2020, Mayor Durkan stated during a joint press conference with

25
     5
         https://durkan.seattle.gov/2020/06/city-of-seattle-responds-to-the-capitol-hill-organized-protest/
26   6
         https://durkan.seattle.gov/2020/06/city-of-seattle-responds-to-the-capitol-hill-organized-protest/


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                                                                                              1301 SECOND AVENUE, SUITE 2800
                                                                                                SEATTLE, WASHINGTON 98101
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              Case 2:23-cv-00858 Document 1 Filed 06/07/23 Page 29 of 35




 1        the Chief of Police:

 2                  Lawfully gathering and expressing first Amendment rights, and
 3                  demanding we do better as a society, and providing true equity for
                    communities of color, is not terrorism. It is patriotism. The right to
 4                  challenge government and authority is fundamental to who we are
                    as Americans. . . . And for the thousands of individuals who’ve been
 5                  on Capitol Hill, many of them, what you’ll see is a painting of Black
                    Lives Matter along Pine Street. Food trucks, spaghetti potlucks,
 6
                    teach-ins, movies, free granola bars . . . .
 7
                    d.     During the same press conference on June 11, 2020, Mayor Durkan also
 8
          stated:
 9

10                  The Capitol Hill area—in fact, some of my family is up there right
                    now— . . . it is not an armed ANTIFA militia no-go zone. It is, a
11                  number of people are there, we’ve had ongoing communications
                    with them, with the businesses, with the residents, and we will make
12                  sure that we find some way for people to continue to protest
13                  peacefully while also getting ingress and egress. We’ve had blocks
                    of Seattle in Capitol Hill shut down every summer for everything
14                  from Block Party to Pride. This is not really that much of an
                    operational challenge. But we want to make sure that the businesses
15                  and residents feel safe and we’ll continue to move that forward.
16                  e.     During her Facebook Live interview, Mayor Durkan also stated, “I was up

17        there today, walking around, talking to people, and I think we just have to continue to listen
18        to people and figure out a way that there’s still a way for people to have that kind of free

19        expression, but we need to open up the streets, too, at least 12th so we can get fire through,

20        and like that, so we’re going to keep talking to people and listening to them. But I heard a

21        lot of great ideas and I heard a lot of community strength there. That was cool.”

22                  f.     Also on June 12, 2020, during her interview with CNN’s Chris Cuomo,

23        Mayor Durkan said, “We’ve got four blocks in Seattle that . . . is more like a block party

24        atmosphere. It’s not an armed takeover. It’s not a military junta. We will – we will make

25        sure that we can restore this. But we have block parties and the like in this part of Seattle

26        all the time. It’s known for that.”

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                                                                             1301 SECOND AVENUE, SUITE 2800
                                                                               SEATTLE, WASHINGTON 98101
                                                                           TEL, (206) 407-2200 FAX, (206) 407-2224
                  Case 2:23-cv-00858 Document 1 Filed 06/07/23 Page 30 of 35




 1                  g.     On June 12, 2020, Mayor Durkan endorsed the gardens being planted in Cal

 2          Anderson Park on Twitter: “Earlier today I visited the #CHAZ and met Marcus Henderson,

 3          the person behind the new community garden popping up in Cal Anderson Park. Read more

 4          about    Marcus     and    the   work     that’s   gone   into       creating          the      gardens:

 5          thestanger.com/slog/2020/06/1.”

 6                  h.     Mayor Durkan also tweeted on June 12, 2020: “For as long as I can

 7          remember, Capitol Hill has been autonomous – it’s been a place where people go to express

 8          themselves freely. Today at the #CHAZ, I spoke with organizers and community about

 9          how we can move forward and keep our communities safe, together.”

10                  i.     Mayor Durkan tweeted on June 16, 2020: “The #CHOP has emerged as a

11          gathering place for community to demand change of their local, state, and federal

12          government.”

13                  j.     On June 19, 2020, Mayor Durkan officially declared that there was no

14          longer a state of emergency in the City because “demonstrations since that day have

15          been and continue be largely peaceful.”

16                  k.     On June 21, 2020, after two people were shot in CHOP and one of them

17          died, Mayor Durkan issued a statement indicating that the City still had no plans to cease
18          supporting CHOP and that the City was instead acting to work with and preserve CHOP.

19          85.     The City officially ended CHOP on July 1, 2020, by clearing CHOP of barricades

20   and encampments. However, as explained above, the City’s earlier assistance and endorsement of

21   CHOP and CHOP participants continued to cause harm to Plaintiff that would not have occurred

22   absent the City’s actions. This included:

23                  a.     The reoccupation of Cal Anderson Park after July 1, 2020, and the

24          continued failure by the City to properly address the violence, crime, vandalism, and

25          overall danger created by that reoccupation prior to December 16, 2020.

26                  b.     Continued nightly and daily, unpermitted protests and blocking of streets

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                                                                               1301 SECOND AVENUE, SUITE 2800
                                                                                 SEATTLE, WASHINGTON 98101
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                     Case 2:23-cv-00858 Document 1 Filed 06/07/23 Page 31 of 35




 1             throughout the last half of 2020 as a result of the City having created the perception that

 2             protests and blocked access would be allowed in the neighborhood that had housed CHOP.

 3             Police often did not respond to or attempt to stop crime associated with these protests.

 4                     c.     Erection of a bunker that completely enveloped the sidewalks around the

 5             East Precinct, confirming to the public that the City considered the neighborhood to be

 6             unsafe, and furthering the reputation for unrest and decreased safety that had already been

 7             created by the City’s actions with regard to CHOP.

 8                                      V.       CLAIMS FOR RELIEF

 9                    FIRST CAUSE OF ACTION – SUBSTANTIVE DUE PROCESS

10                                                42 U.S.C. § 1983

11                                           U.S. Const. Amend. XIV § 1

12             86.     Plaintiff incorporates all other allegations in this complaint as if set forth fully

13   herein.

14             87.     Plaintiff has a right pursuant to substantive due process to be protected from state-

15   created dangers.

16             88.     The City’s actions, assistance, endorsements, and encouragements of CHOP and

17   CHOP participants greatly increased the likelihood of property damage, loss of business revenue,
18   loss of use of property, and other damage to Plaintiff. This subjected Plaintiff to harm that it would

19   not have suffered absent the City’s actions.

20             89.     The City knew, by virtue of communications it had received from Plaintiff in and

21   after June 2020, that Plaintiff was suffering particularized harm caused by CHOP and its aftermath.

22   The City knew that if it did not change its approach to CHOP and its aftermath, that Plaintiff would

23   continue to suffer particularized harm.

24             90.     All damages suffered by Plaintiff were foreseeable, known, and obvious. Numerous

25   officials at the City foresaw that its actions would increase crime and harm to businesses in the

26   area. The City also knew of the harm that was being suffered by Plaintiff specifically and did not

      COMPLAINT - 31                                                         MORGAN LEWIS & BOCKIUS LLP
                                                                                1301 SECOND AVENUE, SUITE 2800
                                                                                  SEATTLE, WASHINGTON 98101
                                                                              TEL, (206) 407-2200 FAX, (206) 407-2224
                  Case 2:23-cv-00858 Document 1 Filed 06/07/23 Page 32 of 35




 1   change its actions despite the fact it was foreseeable that absent change, that harm would continue.

 2   It was also foreseeable that the City’s actions with regard to CHOP would continue to reverberate

 3   throughout the neighborhood and for Plaintiff after CHOP was disbanded, especially with any

 4   unchecked reoccupation of Cal Anderson Park. This was, moreover, all objectively foreseeable.

 5          91.      The City acted with deliberate indifference to the known and obvious harm that

 6   would be suffered by Plaintiff. The City knew that if it did not change its approach to CHOP and

 7   its aftermath, that Plaintiff would continue to suffer particularized harm but the City chose to delay

 8   clearing out CHOP from Cal Anderson Park and the surrounding area, and then chose to not clear

 9   out the reoccupation of that park, directly across the street from Plaintiff, until December 2020.

10   This was despite numerous communications between Plaintiff and City representatives about the

11   harm Plaintiff was suffering, including Plaintiff’s submission of a claim form to the City seeking

12   recompense for damages it had suffered and was still suffering.

13          92.      The City did so pursuant to City policy as created and ratified by City policymakers,

14   including Mayor Durkan.

15                              SECOND CAUSE OF ACTION – TAKING

16                                             42 U.S.C. § 1983

17                                       U.S. Const. Amends. V, XIV
18          93.      Plaintiff incorporates all other allegations in this complaint.

19          94.      Plaintiff has constitutionally protected property rights to use and enjoy its property,

20   to exclude others from its property, and to access its property via public rights-of-way.

21          95.      The City deprived Plaintiff of those rights by affirmatively creating, assisting,

22   endorsing, and encouraging an indefinite, unpermitted invasion, occupation, and blockade of the

23   public rights-of-way that provide access to Plaintiff’s property, as well as by affirmatively creating,

24   assisting, endorsing, and encouraging the physical invasion of Plaintiff’s property by CHOP

25   participants.

26          96.      The City’s actions impeded or impaired access to Plaintiff’s property.

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                                                                                1301 SECOND AVENUE, SUITE 2800
                                                                                  SEATTLE, WASHINGTON 98101
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                   Case 2:23-cv-00858 Document 1 Filed 06/07/23 Page 33 of 35




 1          97.      The City also committed a per se takings by creating a government-authorized

 2   invasion of Plaintiff’s property.

 3          98.      The City did so pursuant to City policy as created and ratified by City policymakers,

 4   including Mayor Durkan.

 5          99.      Plaintiff has not received compensation for the deprivation of its property rights.

 6          100.     The City’s actions constitute an unlawful taking for private use and/or an unlawful

 7   taking for public use without just compensation, which has caused Plaintiff economic harm,

 8   including through a loss of business revenue.

 9                           THIRD CAUSE OF ACTION – NEGLIGENCE

10          101.     Plaintiff incorporates all other allegations in this complaint.

11          102.     The City’s affirmative acts as described in this complaint placed Plaintiff at high

12   and unreasonable risk of foreseeable harm.

13          103.     The City had a duty to protect Plaintiff from that foreseeable harm.

14          104.     The City breached its duty to protect Plaintiff from that foreseeable harm.

15          105.     The City also owed Plaintiff a duty pursuant to the Fire Code, which required

16   clearing of the public streets, and the Seattle Municipal Code, which required the City to protect

17   Plaintiff from unreasonable risks of property damage and other harm and dangers by designating
18   an alternate proposal for those who wished to create and participate in CHOP and otherwise occupy

19   Cal Anderson Park during 2020.

20          106.     The City also breached the duty created by the Fire Code and the Seattle Municipal

21   Code by not implementing the required procedures, processes, and protections.

22          107.     The City’s breach of its duties proximately caused harm to Plaintiff including but

23   not limited to property damage, lost income and revenue, exposure to excessive noise and public

24   safety hazard, and increased expenses for vandalism.

25

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                                                                                1301 SECOND AVENUE, SUITE 2800
                                                                                  SEATTLE, WASHINGTON 98101
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 1                             FOURTH CAUSE OF ACTION – NUISANCE

 2                                            RCW 7.48.010, et. seq.

 3           108.     Plaintiff incorporates all other allegations in this complaint.

 4           109.     As a direct result of the City’s affirmative acts, foot and vehicular traffic on the

 5   public streets, sidewalks, and other rights-of-way surrounding Plaintiff’s business were physically

 6   blocked and/or impeded.

 7           110.     The blocking and impeding of foot and vehicular traffic substantially and

 8   unreasonably interfered with Plaintiff’s business and has caused harm to Plaintiff, including

 9   resulting in lost revenues.

10           111.     In addition to blocking public rights-of-way, the City’s actions during and

11   following CHOP created and maintained a series of unlawful and/or unreasonable conditions,

12   including excessive noise, public safety hazards, vandalism, and poor health and sanitation

13   conditions.

14           112.     The City directly participated in the creation and maintenance of this nuisance,

15   including by providing concrete barriers to be used for this specific purpose to the CHOP

16   participants and designating the intersection of Eleventh and Olive as a hub for garbage services

17   and portable toilets to service individuals occupying the neighborhood and Cal Anderson Park.
18           113.     These conditions annoyed, injured, and endangered the comfort, repose, health, and

19   safety of Plaintiff, and rendered Plaintiff insecure in the use of its properties.

20           114.     These conditions substantially and unreasonably interfered with Plaintiff’s use and

21   enjoyment of its properties, including by creating a reasonable fear by Plaintiff, and caused harm

22   to Plaintiff, including by inflicting property damage and causing lost revenues.

23                                         VI.     JURY DEMAND

24           Plaintiff demands a trial by jury.

25                                     VII.      PRAYER FOR RELIEF

26           WHEREFORE, Plaintiff requests the following relief:

      COMPLAINT - 34                                                         MORGAN LEWIS & BOCKIUS LLP
                                                                                 1301 SECOND AVENUE, SUITE 2800
                                                                                   SEATTLE, WASHINGTON 98101
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                 Case 2:23-cv-00858 Document 1 Filed 06/07/23 Page 35 of 35




 1          A.      Judgment in favor of Plaintiff and against Defendant for actual damages in an

 2   amount to be proven at trial;

 3          B.      Prejudgment interest at the maximum rate allowed by law;

 4          C.      Plaintiff’s costs of investigation, costs of suit, and reasonable attorneys’ fees; and

 5          D.      All such other and further monetary, injunctive, and declaratory relief as the Court

 6   may deem just and proper.

 7          DATED this 7th day of June, 2023.

 8                                             MORGAN, LEWIS & BOCKIUS LLP
 9
                                               By/s Angelo J. Calfo
10                                             Angelo J. Calfo, WSBA #27079

11                                             By/s Patricia A. Eakes
                                               Patricia A. Eakes, WSBA #18888
12

13                                             By/s Tyler S. Weaver
                                                  Tyler S. Weaver, WSBA #29413
14
                                               By/s Gabriel Reilly-Bates
15                                             Gabriel Reilly-Bates, WSBA #52257
16
                                               1301 Second Avenue, Suite 2800
17                                             Seattle, WA 98101
                                               Phone: (206) 407-2200
18                                             Fax:     (206) 407-2224
                                               Email: patty.eakes@morganlewis.com
19                                                    angelo.calfo@morganlewis.com
                                                      tyler.weaver@morganlewis.com
20
                                                      gabriel.reillybates@morganlewis.com
21
                                           Attorneys for Plaintiff Hugo Properties, LLC
22

23

24

25

26

      COMPLAINT - 35                                                       MORGAN LEWIS & BOCKIUS LLP
                                                                              1301 SECOND AVENUE, SUITE 2800
                                                                                SEATTLE, WASHINGTON 98101
                                                                            TEL, (206) 407-2200 FAX, (206) 407-2224
